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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

UNITED STATES OF AMERICA,                CASE NO. 2:24-CR-60

             Plaintiff,                  JUDGE SARAH D. MORRISON

       vs.

NICHOLAS P. DUTY,

             Defendant.


             UNOPPOSED MOTION FOR PROTECTIVE ORDER

      The United States, with the consent of defense counsel, respectfully moves for

entry of an agreed-upon Protective Order pursuant to Rule 16(d)(1) of the Federal

Rules of Criminal Procedure. “Good cause” merits such an order to shield the privacy

interests of third parties. Undersigned counsel have met and conferred with defense

counsel, who agree with the language in Attachment A (“Proposed Protective Order”).

                                Respectfully submitted,

                                KENNETH L. PARKER
                                United States Attorney

                                s/ Emily Czerniejewski______________________
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                          CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing Unopposed Motion for Protective

Order was served this XX day of May, 2024, electronically on all counsel of record.

                                              s/Emily Czerniejewski,
                                              EMILY CZERNIEJEWSKI (IL 6308829)
                                              Assistant United States Attorney




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